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Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 50 of 245   PageID 58
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         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH-
  Plaintiff                                                                      Defendant

      BALFOUR BEATTY CONSTRUCTION, LLC                                                   EDWARDS STEEL SOLUTIONS , LLC and
                                                                                         3938 RUNWAY ROAD, LLC

  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
           3938 RUNWAY ROAD, LLC
                                                                                                                             X Shelby County Sheriff
              c/o Ethan Edwards, Registered Agent
                                                                                                                               Private Process Server
                                                                                                                               Out of County Sheriff*
              1700 S. 3rd Street
                                                                                                                               Secretary of State*
                                                                                                                               Comm. Of Insurance*
              Memphis, TN 38109-7712                                                                                           Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
         Jack R. Dodson III of Dickinson Wright PLLC

          424 Church Street, Suite 800                                                       Ǥ , Clerk and Master

           Nashville, TN 37219
                                                                                      By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
            (615) 244-6538
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, Ǥ , Clerk & Master of the Chancery Court in the State            Ǥ , Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
       Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 52 of 245                                                            PageID 60




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                             am/pm a copy of the

summons and a copy of the Complaint to the following Defendant                                                                                          _

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This           day of                                 , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the             day of                     , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                    , 20         ,I

received the return receipt, which had been signed by                                                   on the         day of _                    ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                  , 20          .                                  authorized by statute to serve process.

Signature of        Notary Public or         Deputy Court Clerk:



My Commission Expires:




                        ATTACH RETURN

                        RECEIPT HERE

                        (IF APPLICABLE)
    Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 53 of 245   PageID 61




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Sum issued shelby sheriff




                                                  Alex Graham, DC




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     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 54 of 245  PageID 62
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                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH-
  Plaintiff                                                                      Defendant

      BALFOUR BEATTY CONSTRUCTION, LLC                                                   EDWARDS STEEL SOLUTIONS , LLC and
                                                                                         3938 RUNWAY ROAD, LLC

  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
              EDWARDS STEEL SOLUTIONS, LLC
                                                                                                                             X Shelby County Sheriff
              c/o Ethan Edwards, Managing Member
                                                                                                                               Private Process Server
                                                                                                                               Out of County Sheriff*
              1700 S. 3rd Street
                                                                                                                               Secretary of State*
                                                                                                                               Comm. Of Insurance*
              Memphis, TN 38109-7712                                                                                           Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
         Jack R. Dodson III of Dickinson Wright PLLC

          424 Church Street, Suite 800                                                       Ǥ , Clerk and Master

           Nashville, TN 37219
                                                                                      By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
            (615) 244-6538
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, Ǥ , Clerk & Master of the Chancery Court in the State            Ǥ , Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
       Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 55 of 245                                                            PageID 63




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                             am/pm a copy of the

summons and a copy of the Complaint to the following Defendant                                                                                          _

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This           day of                                 , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the             day of                     , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                    , 20         ,I

received the return receipt, which had been signed by                                                   on the         day of _                    ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                  , 20          .                                  authorized by statute to serve process.

Signature of        Notary Public or         Deputy Court Clerk:



My Commission Expires:




                        ATTACH RETURN

                        RECEIPT HERE

                        (IF APPLICABLE)
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                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Sum issued shelby sheriff




                                                  Alex Graham, DC




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                                                                                            CLERK OF COURT


            IN THE CHANCERY COURT FOR SHELBY COUNTY, TENNESSEE


  BALFOUR BEATTY CONSTRUCTION,                        )
  LLC,                                                )
                                                      )
                         Plaintiff,                   )
                                                      )
  v.                                                  )       Case No. 19-1191-III
                                                      )
  EDWARDS STEEL SOLUTIONS, LLC,                       )
  and 3938 RUNWAY ROAD, LLC,                          )
                                                      )
                         Defendants.                  )



                                       NOTICE OF HEARING



         Comes Plaintiff, Balfour Beatty Construction, LLC, (“Plaintiff”) and hereby notices that

  a hearing setting a hearing date on the Plaintiff’s Verified Complaint to Set Aside Fraudulent

  Transfer and for Pre-Judgment Attachment is set to be heard on Friday, September 6, 2019 at

  9:00 a.m. with counsel for all parties present in open court.

                                                          Respectfully submitted,

                                                          DICKINSON WRIGHT, PLLC


                                                By:
                                                          Jack R. Dodson III, TN Bar No. 27947
                                                          R. Slade Sevier, Jr., TN Bar No. 23013
                                                          424 Church Street, Suite 800
                                                          Nashville, Tennessee 37219
                                                          T: (615) 244-6538
                                                          RDodson@dickinsonwright.com
                                                          SSevier@dickinsonwright.com

                                                          Attorneys for Plaintiff Balfour Beatty
                                                          Construction, LLC
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 58 of 245                  PageID 66




                                   CERTIFICATE OF SERVICE
          I hereby certify that the foregoing has been served via hand delivery, to:
          Edwards Steel Solutions, LLC
          c/o Ethan Edwards, Managing Member
          1700 S. 3rd Street
          Memphis, TN 38109-7712

          3938 Runway Road, LLC
          c/o Ethan Edwards, Agent for Service of Process
          1700 S. 3rd Street
          Memphis, TN 38109-7712

          On this 29th day of August, 2019.




                                                        Jack R. Dodson III
  NASHVILLE 66466-6 703661v1




                                                   2
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Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 82 of 245   PageID 90
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 83 of 245   PageID 91
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              IN THE CHANCERY COURT FOR SHELBY COUNTY, TENNESSEE


  BALFOUR BEATTY CONSTRUCTION,
  LLC,                                              )
                                                    )
                        Plaintiff,                  )
                                                    )
  v.                                                )
                                                    )
  EDWARDS STEEL SOLUTIONS, LLC,                     )
  3938 RUNWAY ROAD, LLC,                            )
  STEEL SOLUTIONS, LLC,                             )
  FE HOLDINGS, LLC,                                        Case No. 19-1191-III
                                                    )
  GRIT MANAGEMENT, LLC,                             )
  FAB MANUFACTURING, LLC,                           )
  CONTRACTOR LOGISTICS, LLC,                        )
  VULCAN ASSETS, LLC,                               )
  SOUTHERN PREMIX, LLC,                             )
  1700 SOUTH THIRD STREET, LLC, and                 )
  ETHAN EDWARDS,                                    )
                                                    )
                        Defendants.



   FIRST AMENDED COMPLAINT TO SET ASIDE FRAUDULENT TRANSFERS, FOR
         PRE-JUDGMENT ATTACHMENT, AND FOR A LIEN LIS PENDENS


         Plaintiff, Balfour Beatty Construction, LLC, submits this its First Amended Complaint

  against Edwards Steel Solutions, LLC, 3938 Runway Road, LLC, Steel Solutions, LLC, FE

  Holdings, LLC, Grit Management, LLC, FAB Manufacturing, LLC, Contractor Logistics, LLC,

  Vulcan Assets, LLC, Southern Premix, LLC, 1700 South Third Street, LLC (collectively

  “Defendant Entities”) and Ethan Edwards (collectively with Defendant Entities “Defendants”) to

  set aside fraudulent conveyances, and in support thereof would show as follows:

                                             I. Parties

         1.      Balfour Beatty Construction, LLC (“Balfour”) is a Delaware limited liability

  company with its principal place of business in Dallas, Texas.
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 96 of 245                  PageID 104




         2.     Edwards Steel Solutions, LLC (“Edwards Steel”) is a Tennessee limited liability

  company with its principal place of business at 1700 South 3rd Street, Memphis, Tennessee.

  Edwards Steel can be served through its registered agent Ethan Edwards at 1700 South 3rd

  Street, Memphis, Tennessee 38109.

         3.     3938 Runway Road, LLC (“Runway Road”) is a Tennessee limited liability

  company with its principal place of business at 1700 South 3rd Street, Memphis, Tennessee.

  Runway Road can be served through its registered agent Ethan Edwards at 1700 South 3rd

  Street, Memphis, Tennessee 38109.

         4.     Steel Solutions, LLC (“Steel Solutions”) is a Tennessee limited liability company

  with its principal place of business at 1700 South 3rd Street, Memphis, Tennessee.        Steel

  Solutions can be served through its registered agent Ethan Edwards at 3020 Ashmont Dr.,

  Germantown, Tennessee 38138.

         5.     FE Holdings, LLC (“FE Holdings”) is a Tennessee limited liability company with

  its principal place of business at 1700 South 3rd Street, Memphis, Tennessee. FE Holdings can

  be served through its registered agent Ethan Edwards at 3020 Ashmont Dr., Germantown,

  Tennessee 38138.

         6.     Grit Management, LLC (“Grit Management”) is a Tennessee limited liability

  company with its principal place of business at 1700 South 3rd Street, Memphis, Tennessee.

  Grit Management can be served through its registered agent Ethan Edwards at 3020 Ashmont

  Dr., Germantown, Tennessee 38138.

         7.     FAB Manufacturing, LLC (“FAB Manufacturing”) is a Tennessee limited liability

  company with its principal place of business at 1700 South 3rd Street, Memphis, Tennessee.




                                                2
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  FAB Manufacturing can be served through its registered agent Ethan Edwards at 3020 Ashmont

  Dr., Germantown, Tennessee 38138.

         8.     Contractor Logistics, LLC (“Contractor Logistics”) is a Tennessee limited

  liability company with its principal place of business at 1700 South 3rd Street, Memphis,

  Tennessee. Contractor Logistics can be served through its registered agent Joel Sklar at 1000

  Ridgeway Loop Road, Suite 200, Memphis, Tennessee 38120.

         9.     Vulcan Assets, LLC (“Vulcan Assets”) is a Tennessee limited liability company

  with its principal place of business at 1700 South 3rd Street, Memphis, Tennessee. Vulcan

  Assets can be served through its registered agent Ethan Edwards at 3020 Ashmont Dr.,

  Germantown, Tennessee 38138.

         10.    Southern Premix, LLC (“Southern Premix”) is a Tennessee limited liability

  company with its principal place of business at 1700 South 3rd Street, Memphis, Tennessee.

  Southern Premix can be served through its registered agent Ethan Edwards at 1700 South 3rd

  Street, Memphis, Tennessee 38109.

         11.    1700 South Third Street, LLC (“1700 S. 3rd”) is a Tennessee limited liability

  company with its principal place of business at 1700 South 3rd Street, Memphis, Tennessee.

  1700 S. 3rd can be served through its registered agent Ethan Edwards at 1700 South 3rd Street,

  Memphis, Tennessee 38109.

         12.    Ethan Edwards is a resident of Shelby County and he resides at 3020 Ashmont

  Dr., Germantown, Tennessee 38138.




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                                      II. Jurisdiction and Venue

             13.   This Court has subject matter jurisdiction in this matter pursuant to T.C.A. §§ 16-

  11-101 et seq. because the actions giving rise to the causes of action all occurred in Shelby

  County.

             14.   Venue is proper in Shelby County pursuant to T.C.A. §§ 20-4-101 & 104.

                                            III. Background

             15.   Balfour entered into Subcontract #12640010-026 effective November 4, 2013 (the

  “Subcontract”), with Edwards Steel under which Edwards Steel was to fabricate and install metal

  railings for the construction of the Cool Springs Apartment Complex in Franklin, Tennessee (the

  “Project”) (the Subcontract is attached hereto as Exhibit A).

             16.   The Subcontract included a provision for arbitration of any dispute between the

  parties.

             17.   The original contract price for Edwards Steel’s work was $640,000.00, but the

  contract price was increased by change orders to $702,761.00.

             18.   Edwards Steel commenced work on the Project in approximately January 2014.

             19.   Following a site visit by an engineering firm on January 20, 2015, several

  deficiencies in Edwards Steel’s work were discovered.

             20.   On October 7, 2015, Balfour gave Edwards Steel written notice of the deficient

  and unacceptable work and gave Edwards Steel an opportunity to cure.

             21.   On November 18, 2015, Balfour gave Edwards Steel a Notification of Formal

  Default in accordance with the Subcontract.

             22.   Upon information and belief, on December 8, 2015, Edwards Steel purchased the

  property at 3938 Runway Road, Memphis Tennessee 38118-6611 for $225,000.




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          23.    Balfour received a report from a third-party consultant on January 21, 2016,

  identifying a more extensive list of the deficiencies and defects in Edwards Steel’s work.

          24.    After additional correspondence and discussions, Balfour sent an updated Notice

  of Default on February 5, 2016, with another updated period to cure.

          25.    Edwards Steel did not respond to the February 5, 2016, correspondence from

  Balfour, and on February 11, 2016, Balfour again notified Edwards Steel it was in default and

  had abandoned its Subcontract.

          26.    Balfour is entitled, under the Subcontract, to recover from Edwards Steel all

  damages arising out of Edwards Steel’s default, including additional expenses to correct and

  complete the defective work, damages to other subcontractors and/or their work, delay damages,

  attorneys’ fees and expenses, litigation and arbitration fees and expenses, and an additional

  fifteen percent (15%) of all expenses as liquidated damages for overhead costs.

          27.    Upon information and belief, in anticipation of litigation and in an attempt to

  make Edwards Steel judgment proof, Ethan Edwards began creating the Defendant Entities in

  2017.

          28.    Seven of the Defendant Entities were created in a five-month period in 2017.

          29.    First, Contractor Logistics was formed on April 4, 2017; second, 1700 South 3rd

  was formed on June 13, 2017; third, FAB Manufacturing was formed on July 13, 2017; the

  fourth, fifth, and sixth entities, Grit Management, FE Holdings, and Vulcan Assets were all

  formed on July 28, 2017; and seventh, Southern Premix was formed on August 2, 2017.

          30.    Upon information and belief, on or around July 2017, Edwards Steel purchased

  the property at 1700 South Third St., Memphis, Tennessee for $1,100,000. Article from the

  Memphis Business Journal attached hereto as Exhibit B.




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          31.       Upon information and belief, Edwards Steel purchased the 1700 South Third St.

   property in the name of 1700 South Third Street, LLC with the knowledge that litigation against

   Edwards Steel had either already commenced, or was imminent.

          32.       On February 2, 2018, Balfour and Edwards Steel executed an Amendment to the

   Subcontract requiring the two parties to submit all disputes to privately administered binding

   arbitration (attached hereto as Exhibit C).

          33.       Upon information and belief, in a further attempt to hide assets of Edwards Steel

   following the commencement of arbitration, Steel Solutions was formed on May 21, 2018.

          34.       This matter was arbitrated in private arbitration before arbitrator William Tate on

   June 24, 2019.

          35.       On June 25, 2019, the Arbitrator awarded Balfour $1,292,938.35 (a copy of award

   attached hereto as Exhibit D).

          36.       On September 20, 2019, the arbitration award was confirmed by the Davidson

   County Chancery Court and became a final judgment (a copy of the judgment is attached hereto

   as Exhibit E).

          37.       On September 13, 2019, Balfour and Edwards Steel entered an Agreed Order in

   this case granting Balfour a lien lis pendens and enjoining Edwards Steel from using any funds,

   including funds in its Pinnacle Financial Partners Account, and any other financial institution, for

   any purpose other than ordinary operating expenses (a copy of the Agreed Order is attached

   hereto as Exhibit F).

          38.       Upon information and belief, prior to entering the Agreed Order, Edwards Steel

   fraudulently transferred funds to avoid payment of the anticipated award.




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          39.      Upon information and belief, both before and after entering the Agreed Order,

   Edwards Steel and Ethan Edwards, moved funds from Edwards Steel to other Defendant Entities

   in order to avoid payment of the anticipated award.

          40.     On or about March 29, 2019, after both parties had begun the process of

   arbitration, Edwards Steel transferred the 3938 Runway Road, Memphis, Tennessee 38118-6611

   property by quitclaim deed to 3938 Runway Road, LLC.

          41.     Upon information and belief, Runway Road, was first formed on or about January

   14, 2019, after both parties had begun the process of arbitration.

          42.     Upon information and belief, the deeds of trust encumbering the 3938 Runway

   Road property were obtained fraudulently, collusively, or with unclean hands.

          43.     The first deed of trust encumbering the 3938 Runway Road property was recorded

   on December 8, 2016, after Balfour had notified Edwards Steel of its default.

          44.     The second deed of trust encumbering the 3938 Runway Road property was

   recorded on August 15, 2019, more than a month after Balfour received its judgment against

   Edwards Steel from the arbitrator.

          45.     After receiving a judgment for its arbitration award, Balfour subpoenaed Edwards

   Steel’s bank records.

          46.     Balfour discovered that, in anticipation of the impending September 13 Agreed

   Order enjoining Edwards Steel from using his Pinnacle bank funds, Ethan Edwards had been

   draining his Edwards Steel bank accounts and moving the money to accounts of other entities

   owned and controlled by Ethan Edwards not subject to the Agreed Order.

          47.     Of Edwards Steel’s thirteen bank accounts at Pinnacle bank that Balfour was able

   to review, those accounts totaled as much as $88,994.20 on August 1, 2019, but only $568.51 on




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   October 1, 2019. A summary of Edwards Steel’s Pinnacle bank account balances is attached

   hereto as Exhibit G.

          48.     Before September 1, 2019, the Edwards Steel operating account at Pinnacle Bank

   had an average balance of $59,030.34.

          49.     On October 1, 2019, the Edwards Steel operating account at Pinnacle Bank had a

   balance of $100.00.

          50.     Analysis of Edwards Steel’s Pinnacle Bank Account revealed at least nine other

   entities owned or controlled by Ethan Edwards.

          51.     All Defendant Entities have the same principal place of business – 1700 South 3rd

   Street, Memphis, Tennessee.

          52.     Ethan Edwards is owner and only member of 1700 S. 3rd, which owns 1700

   South 3rd Street, Memphis, Tennessee.

          53.     All Defendant Entities, with the exception of Contractor Logistics, list Ethan

   Edwards as their registered agent.

          54.     Although Ethan Edwards is not the registered agent for Contractor Logistics,

   Contractor Logistics has only one member, and Ethan Edwards is the “addressee” for the

   “mailing address” and the “principal office address” listed on the Tennessee Secretary of State’s

   Business Entity Detail for Contractor Logistics.

          55.     All Defendant Entities, except for Edwards Steel, were created after Balfour

   notified Edwards Steel that it was in default of its Subcontract.

          56.     Upon information and belief, Ethan Edwards is the only member and/or controls

   all of the Defendant Entities.




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          57.     Upon information and belief, Edwards Steel transferred funds to other accounts

   owned or controlled by Ethan Edwards or Defendant Entities in order to avoid payment of the

   judgment against it.

                                COUNT I – Fraudulent Conveyance

          58.     Balfour incorporates and restates by reference the averments contained in the

   foregoing paragraphs of this Complaint as if fully set forth below.

          59.     Edwards Steel conveyed the 3938 Runway Roads property to the newly created

   Runway Road entity with the intent to hinder, delay, or defraud Balfour from collecting the

   damages and debts owed to it, constituted a fraudulent conveyance.

          60.     Edward Steel and Ethan Edwards’ fraudulent conveyance should be deemed void

   and set aside pursuant to T.C.A. § 66-3-101.

                                 COUNT II – Fraudulent Transfers

          61.     Balfour incorporates and restates by reference the averments contained in the

   foregoing paragraphs of this Complaint as if fully set forth below.

          62.     After Balfour received its arbitration award, or in anticipation of the award,

   Edwards Steel transferred funds from its bank accounts to the other Defendant Entities owned by

   Ethan Edwards with the intent to hinder, delay, or defraud Balfour from collecting the damages

   and debts owed to it.

          63.     Edwards Steel and Ethan Edwards’ fraudulent transfers should be deemed void

   and set aside pursuant to T.C.A. §§ 66-3-301 et seq.

                             COUNT III – Piercing the Corporate Veil

          64.     Balfour incorporates and restates by reference the averments contained in the

   foregoing paragraphs of this Complaint as if fully set forth below.




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              65.      Ethan Edwards attempted to work a fraud in contravention of public policy.

              66.      Defendant Entities all share the same business location.

              67.      Ethan Edwards has sole ownership of all but two of the Defendant Entities. 1

              68.      All Defendant Entities were created after Balfour notified Edwards Steel it was in

   default under the terms of its Subcontract.

              69.      Upon information and belief, all Defendant Entities have the same attorneys.

              70.      Upon information and belief, all Defendant Entities are used as instrumentalities

   or business conduits for Ethan Edwards.

              71.      Edwards Steel has diverted corporate assets and or manipulated assets to the

   detriment of Balfour, its judgment creditor.

              72.      Defendant Entities have failed to maintain arms-length relationships among the

   entities.

              73.      Defendant Entities are nothing more than alter-egos of Ethan Edwards.

              74.      As such, the corporate veil of Defendant Entities should be disregarded and

   Balfour should be allowed to collect its judgment from Ethan Edwards, individually, as well as

   any and all of his Defendant Entities.

                       COUNT IV – Pre-Judgment Attachment and Lien Lis Pendens

              75.      Balfour incorporates and restates by reference the averments contained in the

   foregoing paragraphs of this Complaint as if fully set forth below.

              76.      Upon information and belief, in anticipation of the forthcoming judgment against

   Edwards Steel, Ethan Edwards began transferring funds out of Edwards Steel’s bank accounts in

   order to avoid the award of damages against it in the pending arbitration.


   1
       FE Holdings and Southern Premix list two (2) and three (3) members respectively.



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          77.     Defendant Entities are controlled by Ethan Edwards, and are free to transfer or

   otherwise dispose of the funds which could be used by Edwards Steel to partially satisfy its

   judgment debt owed to Balfour.

          78.     The Court may order attachment of the Defendant Entities bank accounts in

   accordance with Tenn. R. Civ. P. 64, as provided by T.C.A. § 29-6-101.

          79.     In particular, T.C.A. § 29-6-101(6) provides that the fraudulent conveyance of

   property, like the conveyance from Edwards Steel to other Defendant Entities, is the precise form

   of exigent circumstances that provide this Court the grounds to issue a writ of attachment.

          80.     On account of these exigent circumstances, Balfour is entitled to a writ of

   attachment, which should be levied on the bank accounts of Defendant Entities at Pinnacle

   Financial Partners, Paragon Bank, Charles Schwab Bank, Triumph Bank, and any other financial

   institution at which Ethan Edwards, or Defendant Entities, maintain bank accounts.

          81.     Balfour asserts a lien lis pendens against the 1700 South Third Street property and

   all other properties of the Defendant Entities which were acquired with assets fraudulently

   transferred from Edwards Steel.

          WHEREFORE, Balfour respectfully requests the following relief:

          1.      A writ of attachment be issued directing the Shelby County Sheriff to attach the

   personal property and/or funds held by Pinnacle Financial Partners, Paragon Bank, Triumph

   Bank, and Charles Schwab Bank for Defendant Entities, such funds to be paid into the registry of

   the court and held to satisfy the judgment in arbitration in favor of Balfour.

          2.      That the Court pierce the corporate veil of the Defendant Entities and allow the

   Plaintiff to reach the assets of the Defendant entities and Ethan Edwards personally;




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            3.        Award to Balfour all costs of this action, including court costs and reasonable

   attorneys’ fees pursuant to the parties’ contract; and

            4.        All other relief this Court deems appropriate, fair or equitable.

       THIS IS THE FIRST APPLICATION FOR EXTRAORDINARY RELIEF IN THIS CASE.


                                                             Respectfully submitted,

                                                             DICKINSON WRIGHT, PLLC


                                                     By:

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                                                            Construction, LLC
   4834-6347-3588 v1 [66466-6]




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    COMPANIES                       A Memphis
    IN THIS ARTICLE                 manufacturing
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    Deloitte Private                facility sold for seven figures.

    Edwards Steel Solutions, LLC    The 208,000-square-foot industrial building at 1700 S.
    Memphis, TN

                                    Third St. was purchased by Edwards Steel Solutions for $1.1
                                    million.

                                    Greg deWitt, vice president with Avison Young,
    Family business legacy
    What can help a family
                                    represented the buyer.
    business succeed for
    generations?
                                    Edwards Steel specializes in the fabrication of steel stairs
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                                    and rails and plans to occupy 86 percent of the facility and
                                    lease the remaining square footage. No lease had been
                                    signed as of Friday, July 21.

                                    The company plans to fabricate steel that will be used
                                    primarily for multifamily construction.

                                    Memphis Commercial & Industrial Real Estate represented
                                    the seller, B&C LLC.

                                    The building sits on a nearly nine-acre lot and includes 40
                                    parking spaces. There are 13 exterior dock doors with 17-
                                    foot to 25-foot ceilings.


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                             According to Avison Young, Edwards Steel plans to update
                             the office and sprinklers as well as add LED lighting.




                             Industrial Real Estate Firms
                             Ranked by Industrial agents

                               Rank      Rank                                      Industrial Agents


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           1075 Mullins Station, Suite W165   ~ Memphis, Tennessee 38134 (901) 222-8100
              Website: www.register.shelby.tn.us Email: register@shelbycountytn.gov
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 144 of 245                        PageID 152




                  IN THE CHANCERY COURT FOR SHELBY COUNTY, TENNESSEE
                      FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPIDS


      BALFOUR BEATTY CONSTRUCTION, LLC, )
                                                            )
              Plaintiff,                                    ).
                                                            )
      v.                                                    )
                                                            )
      EDWARDS STEEL SOLUTIONS, LLC,                         )
      and 3938 RUNWAY ROAD, LLC,                            )
                                                            )
              Defendants.                                   )


                                              AGREEDORDER            orv    L-1.E"IV LIS PeNoENS


              As evidenced by the signature of counsel for the Parties below, the Parties have mutually

      agreed to the following pending discovery and final resolution of this law.

             IT IS TI:IBREFORE, ORDERED, ADJUDGED AND DECREED:

             1.      The attached Abstract of Lien Lis Pendens shall promptly be signed by the Clerk

      and Master and recorded with the Shelby County Register of Deeds and no writ of attachment shall

      be issued; ( 5,'.e.e. a..-lh::t~&/ d..a.~.p+t'~     J
             2.      The Defendants, Edw~ds Steel Solutions, LLC and 3938 Runway Road, LLC, are -

      immediately enjoined from using any funds, including funds held in accounts with Pinnacle

      Financial Partners and any other financial institutions, for any purposes other than expenses

      incurred in the ordinary course of operating their businesses until     r Order of the Court.

             IT IS SO ORDERED.




                       PYr.ATTEST
                                                           DATE
..
Case
 {
     2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 145 of 245                       PageID 153




       APPROVED FOR ENTRY:



       J a c k ~ '.5-TN7-_B_ar_N...c::o=.=--2794
      R. Slade Sevier, Jr.      1N Bar No. 23013
      Dickinson Wright PLLC
      424 Church Street, Suite 800
      Nashville, TN 37219
      (615) 244-6538
      RDodson@dickinsonwright.com
      SSevier@dickinsonwright.com

      Attorneys for Plaintiff Balfour        Beatty
      Construction, LLC



      Elizabe B. Stengel      TN Bar No. 13061
      Joseph T. Getz          TN Bar No. 10964
      Evans Petree PC
      1715 Aaron Brenner Drive, Suite 800
      Memphis, TN 38120
      (901) 525-6781
      bstengel@evanspetree.com
      j getz@evanspetree.com

      Attorneys for Defendants Edwards Steel
      Solutions, LLC and 3938 Runway Road, LLC


                                      CERTIFICATE OF SERVICE

           · I hereby certify that a true and exact copy of the foregoing has been served via email and
      United States Mail, first class, postage prepaid, on this 1/Jth day of September, 2019 to:
                                                              el"-                .
                    Jack R. Dodson, III
                    R. Slade Sevier, Jr.
                    Dickinson Wright, PLLC
                    424 Church Street, Suite 800
                    Nashville, TN. 37219




                                                      2
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 146 of 245
  p
                                                                                                           PageID 154
      .   '
                                                                                     Instrument prepared by:
                                                                                     Dickinson Wright PLLC
                                                                                     424 Church Street, Suite 800
                                                                                     Nashville, Tennessee 37219

                          IN THE CHANCERY COURT FOR SHELBY COUNTY, TENNESSEE
                               FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS


                   BALFOUR BEATTY CONSTRUCTION, LLC, )
                                                                     )
                       Plaintiff,                                    )
                                                                     )
               v.                                                    )          No. CH-19-1991-111
                                                                     )
                   EDWARDS STEEL SOLUTIONS, LLC,                     )
                   and 3938 RUNWAY ROAD, LLC,                        )
                                                                     )
                       Defendants.                                   )



                                             ABSTRACT OF LmN LIS PENDENS


                      KNOW ALL PERSONS BY THESE PRESENTS, that pursuant to T.C.A.           § 20-3-lOl(a), I
              hereby certify that on the 23rd day of August, 2019, this action was commenced in this court and
              remains on file and of record in my office and that according to such record:

              1.      The names of the parties to this action are: The Plaintiff is Balfour Beatty Construction,
                      LLC. The Defendants are Edwards Steel Solutions, LLC, and 3938 Runway Road, LLC.

              2.      A description of the real estate affected is: 3938 Runway Road, Memphis; Shelby County,
                      Tennessee 38118-6611.

              3.      The owner of the real estate aff¥cted is: 3938 Runway Road, LLC.

              4.      The nature and amount of the lien sought to be fixed is: The Plaintiff claims a lien /is
                      pendens in the amount of $1,292,938.35 in furtherance of the setting aside of a fraudulent
                      conveyance.

              5.      That a restraining order affecting said property   □has   181 has not been issued.

                     NOTICE IS HEREBY GIVEN to bona fide purchasers and encumbrancers for value of the
              aforesaid property, or any interest therein, that upon registration of this abstract with the Shelby
              County Register's Office, Balfour Beatty Construction, LLC, has a lien lis pendens upon said
              property, as provided in T.C.A. § 20-3-101.

              WIINESS my hand and seal, this l}M day of Septembe<, 2019wP

                                                                w~ 4
                                                            W. AARON HALL, CLERK & MASTER
                "
          Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 147 of 245         PageID 155
          .
          -

      •

                                            .
               LOT 17, RUNWAY INDUSTRIAL PARK SUBDIVISION, AS SHOWN ON PLAT OF RECORD IN PLAT
              ·BOOK 31, PAGE 18, IN THE REGISTER'S OFFICE OF SHELBY COUNTY, TENNESSEE, TO WHICH PLAT
               REFE~CE IN HEREBY MADE FOR~ MORE PARTICULAR DESCRIPTION OF SAID PROPERTY. ;,
                   ~




                                                                                                       .,




I -
(
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 148 of 245  PageID 156
                                                                    ELECTRONICALLY FILED
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                                                                       CLERK OF COURT




                                EXHIBIT G
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 149 of 245   PageID 157




   Pinnacle Bank


   Date        Balance
   1/1/2019    $103,785.07
   2/1/2019    $54,782.35
   3/1/2019    $92,317.04
   4/1/2019    $76,942.11
   5/1/2019    $15,719.96
   6/1/2019    $63,408.65
   7/1/2019    $27,170.48
   8/1/2019    $88,994.20
   9/1/2019    $7,173.47
   10/1/2019   $568.51
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 150 of 245  PageID 158
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        1700 South Third Street, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     1700 South Third Street, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                         Private Process Server
                                                                                                                               Out of County Sheriff*
     1700 South 3rd Street                                                                                                     Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Memphis, TN 38109                                                                                                       ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 151 of 245                                                           PageID 159




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 152 of 245   PageID 160




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




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   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 153 of 245  PageID 161
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                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        3938 Runway Road, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     3938 Runway Road, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                         Private Process Server
                                                                                                                               Out of County Sheriff*
     1700 3rd Street                                                                                                           Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Memphis, TN 38109                                                                                                       ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 154 of 245                                                           PageID 162




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 155 of 245   PageID 163




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




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   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 156 of 245  PageID 164
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Contractor Logistics, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Contractor Logistics, LLC
                                                                                                                               Shelby County Sheriff
     c/o Joel Sklar                                                                                                            Private Process Server
                                                                                                                               Out of County Sheriff*
     1000 Ridgeway Loop Road                                                                                                   Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Suite 200                                                                                                               ✔ Certified Mail
                                                                                                                               Other
     Memphis, TN 38120                                                                                                          *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
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  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
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and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
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     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 157 of 245                                                           PageID 165




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
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To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



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defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 158 of 245   PageID 166




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 03/20/2020 02:16:49 PM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 159 of 245  PageID 167
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        FAB Manufacturing, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Ethan Edwards
                                                                                                                               Shelby County Sheriff
     3020 Ashmont Drive                                                                                                        Private Process Server
                                                                                                                               Out of County Sheriff*
     Germantown, TN 38138                                                                                                      Secretary of State*
                                                                                                                               Comm. Of Insurance*
                                                                                                                             ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

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  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

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                                          For questions regarding scheduling or filing, please contact the court.
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   TO THE DEFENDANT(S):
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     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 160 of 245                                                           PageID 168




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 161 of 245   PageID 169




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 03/20/2020 02:16:49 PM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 162 of 245  PageID 170
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        FAB Manufacturing, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Ethan Edwards
                                                                                                                               Shelby County Sheriff
     3020 Ashmont Drive                                                                                                        Private Process Server
                                                                                                                               Out of County Sheriff*
     Germantown, TN 38138                                                                                                      Secretary of State*
                                                                                                                               Comm. Of Insurance*
                                                                                                                             ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 163 of 245                                                           PageID 171




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 164 of 245   PageID 172




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 03/20/2020 02:16:49 PM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 165 of 245  PageID 173
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        FAB Manufacturing, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     FAB Manufacturing, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                         Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                    ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 166 of 245                                                           PageID 174




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 167 of 245   PageID 175




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 03/20/2020 02:16:49 PM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 168 of 245  PageID 176
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        FE Holdings, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     FE Holdings, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                         Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                    ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 169 of 245                                                           PageID 177




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
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mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 170 of 245   PageID 178




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 03/20/2020 02:16:49 PM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 171 of 245  PageID 179
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Grit Management, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Grit Management, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                         Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                    ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
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  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
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                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 172 of 245                                                           PageID 180




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 173 of 245   PageID 181




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 03/20/2020 02:16:49 PM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 174 of 245  PageID 182
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Mar 20 2:00 PM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Southern Premix, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Southern Premix, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                         Private Process Server
                                                                                                                               Out of County Sheriff*
     1700 South 3rd Street                                                                                                     Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Memphis, TN 38109                                                                                                       ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
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  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

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                                          For questions regarding scheduling or filing, please contact the court.
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     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 175 of 245                                                           PageID 183




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 176 of 245   PageID 184




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




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   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 177 of 245  PageID 185
                                                                       ELECTRONICALLY FILED
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                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Steel Solutions, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Steel Solutions, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                         Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                    ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 178 of 245                                                           PageID 186




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



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received the return receipt, which had been signed by                                                   on the         day of                      ,

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Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 179 of 245   PageID 187




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 03/20/2020 02:16:49 PM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 180 of 245  PageID 188
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                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Vulcan Assets, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Vulcan Assets, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                         Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                    ✔ Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

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  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

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                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
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judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 181 of 245                                                           PageID 189




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

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at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

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To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
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defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 182 of 245   PageID 190




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 03/20/2020 02:16:49 PM
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 183 of 245  PageID 191
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         STATE OF TENNESSEE                                                                                                      DOCKETNUMBER
        3Oth JUDICIAL DISTRICT
          CHANCERY COI'RT
                                                                             SUMMONS**                                            cH-19-1191-ilt
   Plaintiff                                                                                 Defendant



    Balfour Beatty Construction                                                                Contractor Logistics, LLC
  TO: INAMEANDADDRESS OF DEFENDANT)
                                                                                                                                         Method of Service
   Contractor Logistics, LLC
                                                                                                                                      n Shelby County Sheriff
     c/o Joel Sklar                                                                                                                   il Private Process Server
                                                                                                                                      fl Out of County Sheriftr
      1000 Ridgeway Loop Road                                                                                                         I Secretary of State*
                                                                                                                                      n Comm. Of lnsurance*
     Suite 200                                                                                                                        Z Certified Mail
     lMemphis, TN 38120                                                                                                               il other
                                                                                                                                           *Attach Required       Fees



  YouaresummonedtodefendacivilactionfiledagainslyouintheChanceryCourtofShelbyCounty,Tennessee.                                         Yourdefense tothisaction
   mustbemade within thirty(30]days from the date this summons is served upon you. Youmust fiieyourdefensewlth theClerk of the
   Court and send a copy to the Plaintiff/Plaintiffs attorney               at lhe address Iisted belo\,\r. Ifyou fail to defend this action lvithin thirty (30) days
  of service,;udgment by default may be renderedagainstyou                        for   tl.re rellef soughtin the complaint. Questionsregardingthissummons and
  the attacheddocumentsshouldbe addressedto the Attorney/Plaintifflistedbelorv.


  Attorney for Plaintiff or Plaintiff if filing Pro            Se:
   (Name, address & telephone numberJ                                                   ISSUED                                                              20-
       Jack R. Dodson, lll
                                                                                                      W. Aaron Hall, Clerk and Master
       Dickinson Wright PLLC
       424 Church Street, Suite 800                                                            By:
                                                                                                                     Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                  140 Adams, Room               308      Memphis, TN 38103
   TO THE SHERIFF:                                                                       Came to hand

                                                                                                                                                             20


                                                                                         Sheriff
                                                                                         -day

                                                                    CERTIFICATION [IF APPLICABLE)
                                ofthe Chancery Cour! in the State
  l, \1r. Aaron Ha11, Clerk & Ivlaster                                                   W. Aaron Hall, Clerk & Master
  ofTennessee, Shelby County, do certify this to be a true and correct
  copy ofthe original summons issued in this case.                                       By'
                                                                                                                             D,C.&M.

  **Submit one original and one copy for each defendant to be served.

                          &lfyorneedaccommodationsbecauseofadisability,pleasecalltheADACoordinator           at(901,)222-2357.                                                           I
                                        For questions regarding scheduling or filing, please contact t}re court.
Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):                                                                                                                                                              !

         Tennessee larv provides         a ten thousand   dollar   (S 1 0,000.00) personal   propefiy exemption from execution or seizure to satisflz   a   judgnent. Ifajudgrnent
should be entered against you in this action and Iou rvish to claim property as exempt, )ou must file a written list, under oath, ofthe items you wish to claim as
exempt with the clerk of the court. The list ma-,-' be filed at anv time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final. it *i11 not be eft'ective as to anv erecution or gamishment issued prior to the filing of the list. Certain items are automatically exempt by larv
 and do not need to be listed: these include items olnecessan *earing apparei (clothing) for yourselfand your family and trunks or other receptacles necessary to
contain such apparel. family porh'-aits. the thmih Bible. a.r1 sch,ml books. Should any of these items be seized you would have the right to recover them. If you do
not understand your eremption nght or horl to erererF,r 1ou-ar' rlish to seek the counsel of a lawyer. Please state docket number on list.
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        Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 184 of 245                                                                                                                                                                        PageID 192
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 Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 185 of 245    PageID 193




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             cH-19-1 191

    Type:                    Process issued other (T)




                                                    -&*     e-,
                                                    Sam Ginsberg. DC




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   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 186 of 245  PageID 194
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         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Ethan Edwards
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Ethan Edwards
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                      Certified Mail
                                                                                                                               Other
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  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


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                                                                                                                   D. C. & M.

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     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 187 of 245                                                           PageID 195




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 188 of 245   PageID 196




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 189 of 245  PageID 197
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        FAB Manufacturing, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     FAB Manufacturing, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                      Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 190 of 245                                                           PageID 198




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

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defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 191 of 245   PageID 199




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 192 of 245  PageID 200
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        FE Holdings, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     FE Holdings, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                      Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 193 of 245                                                           PageID 201




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 194 of 245   PageID 202




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 195 of 245  PageID 203
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Grit Management, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Grit Management, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                      Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 196 of 245                                                           PageID 204




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
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To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



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defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 197 of 245   PageID 205




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 198 of 245  PageID 206
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Southern Premix, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Southern Premix, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     1700 South 3rd Street                                                                                                     Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Memphis, TN 38109                                                                                                         Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
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  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
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                                                                                                                   D. C. & M.

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 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
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and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
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     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 199 of 245                                                           PageID 207




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



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defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 200 of 245   PageID 208




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 201 of 245  PageID 209
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Vulcan Assets, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Vulcan Assets, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                      Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

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  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
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                                                                                                                   D. C. & M.

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                                          For questions regarding scheduling or filing, please contact the court.
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     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 202 of 245                                                           PageID 210




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 203 of 245   PageID 211




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 204 of 245  PageID 212
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        1700 South Third Street, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     1700 South Third Street, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     1700 South 3rd Street                                                                                                     Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Memphis, TN 38109                                                                                                         Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 205 of 245                                                           PageID 213




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 206 of 245   PageID 214




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




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   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 207 of 245  PageID 215
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        3938 Runway Road, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     3938 Runway Road, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     1700 3rd Street                                                                                                           Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Memphis, TN 38109                                                                                                         Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 208 of 245                                                           PageID 216




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 209 of 245   PageID 217




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 210 of 245  PageID 218
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Edwards Steel Solutions, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Edwards Steel Solutions, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     1700 South 3rd Street                                                                                                     Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Memphis, TN 38109                                                                                                         Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
  Court and send a copy to the Plaintiff/Plaintiff’s attorney at the address listed below. If you fail to defend this action within thirty (30) days
  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
 I, W. Aaron Hall, Clerk & Master of the Chancery Court in the State            W. Aaron Hall, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a true and correct
 copy of the original summons issued in this case.                              By:
                                                                                                                   D. C. & M.

 **Submit one original and one copy for each defendant to be served.
                            If you need accommodations because of a disability, please call the ADA Coordinator at ( 901)222-2357.
                                          For questions regarding scheduling or filing, please contact the court.
 Notice of Personal Property Exemption:
   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 211 of 245                                                           PageID 219




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 212 of 245   PageID 220




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
   Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 213 of 245  PageID 221
                                                                       ELECTRONICALLY FILED
                                                                                                                                             2020 Apr 21 8:32 AM
                                                                                                                                              CLERK OF COURT

         STATE OF TENNESSEE                                                                                            DOCKET NUMBER
        30th JUDICIAL DISTRICT
          CHANCERY COURT
                                                                     SUMMONS**                                         CH- 19-1191-III
  Plaintiff                                                                      Defendant


    Balfour Beatty Construction                                                        Steel Solutions, LLC
  TO:      (NAME AND ADDRESS OF DEFENDANT)
                                                                                                                                Method of Service:
     Steel Solutions, LLC
                                                                                                                               Shelby County Sheriff
     c/o Ethan Edwards                                                                                                       ✔ Private Process Server
                                                                                                                               Out of County Sheriff*
     3020 Ashmont Drive                                                                                                        Secretary of State*
                                                                                                                               Comm. Of Insurance*
     Germantown, TN 38138                                                                                                      Certified Mail
                                                                                                                               Other
                                                                                                                                *Attach Required Fees

  You are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. Your defense to this action
  must be made within thirty (30) days from the date this summons is served upon you. You must file your defense with the Clerk of the
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  of service, judgment by default may be rendered against you for the relief sought in the complaint. Questions regarding this summons and
  the attached documents should be addressed to the Attorney/Plaintiff listed below.


  Attorney for Plaintiff or Plaintiff if filing Pro Se:
  (Name, address & telephone number)                                           ISSUED                   of                                  _, 20
      Jack R. Dodson, III
                                                                                             W. Aaron Hall, Clerk and Master
      Dickinson Wright PLLC
      424 Church Street, Suite 800                                                    By: ______________________________________________________________________
                                                                                                             Deputy Clerk & Master
      Nashville, TN 37219
                                                                                                140 Adams, Room 308             Memphis, TN 38103
  TO THE SHERIFF:                                                               Came to hand

                                                                                             day of                                          _, 20

                                                                                Sheriff


                                                            CERTIFICATION (IF APPLICABLE)
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                                                                                                                   D. C. & M.

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                                          For questions regarding scheduling or filing, please contact the court.
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   TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do
not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state docket number on list.
     Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 214 of 245                                                           PageID 222




                                             RETURN OF SERVICE OF SUMMONS
I hereby certify that I HAVE served the within summons:

By delivering on the                day of                                            , 20         at                           am/pm a copy of the

summons and a copy of the Complaint to the following Defendant

at

                                                                                       By:
Signature of person accepting service                                                        Sheriff or other authorized person to serve process

                                          RETURN OF NON-SERVICE OF SUMMONS
I hereby certify that I HAVE NOT served the within summons:

To the named defendant                                                                because

is (are) not to be found in this county after diligent search and inquiry for the following reason(s):                                                 .

This          day of                                  , 20
                                                                                      By: Sheriff or other authorized person to serve process



                                     RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return that on the          day of                        , 20           , I sent, postage prepaid, by registered return receipt

mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH-                                to the

defendant                                                    . On the       day of                                                   , 20          ,I

received the return receipt, which had been signed by                                                   on the         day of                      ,

20           . The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.

Sworn to and subscribed before me on this                    day of
                                                                               Signature of Plaintiff, Plaintiff’s attorney or other person
                                   , 20           .                                authorized by statute to serve process.

  Signature of         Notary Public or       Deputy Court Clerk:



My Commission Expires:




                       ATTACH RETURN

                       RECEIPT HERE

                       (IF APPLICABLE)
  Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 215 of 245   PageID 223




                             The Shelby County, Tennessee Chancery Court




    Case Style:              BALFOUR BEATTY V EDWARDS STEEL SOLUTIONS, ET AL

    Case Number:             CH-19-1191

    Type:                    Process issued other (T)




                                                  Sam Ginsberg, DC




Electronically signed on 04/21/2020 08:43:20 AM
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 216 of 245   PageID 224
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Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 238 of 245   PageID 246
Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 239 of 245   PageID 247
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Case 2:20-cv-02350-MSN-tmp Document 1-1 Filed 05/15/20 Page 245 of 245   PageID 253
